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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA : Crim. No. 19-763 (WJM)

          V.                    :


                                                 Hon. William J. Martini

ALFUQUAN TURNER :




                                  Count One

                             (Hobbs Act Robbery)

        On Count One of the Superseding Indictment we, the unanimous jury in
the above-entitled case, find the Defendant, Alfuquan Turner:




             Not Guilty _ Guilty




FOREPERSON SIGNATURE:

DATE:
